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              IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF FLORIDA
                      FORT MYERS DIVISION


THE FOUNDATION FOR GOVERNMENT
ACCOUNTABILITY,

                         Plaintiff,

v.                                                  No. 2:23-cv-207

U.S. DEPARTMENT OF HEALTH AND
HUMAN SERVICES, XAVIER BECERRA
in his official capacity as Secretary of
HHS, U.S. DEPARTMENT OF LABOR,
JULIE A. SU in her official capacity as
Acting Secretary of Labor, U.S.
DEPARTMENT OF THE TREASURY, and
JANET YELLEN in her official capacity
as Secretary of the Treasury,

                         Defendants.



                   REQUEST FOR ORAL ARGUMENT
      Plaintiff, the Foundation for Government Accountability (FGA), requests

oral argument on its motion for summary judgment. FGA believes that oral

argument would aid this Court in resolving this important case challenging

agency action under the Administrative Procedure Act. In an APA challenge

like this one, “the entire case on review is a question of law” and “the district

judge sits as an appellate tribunal.” Health Freedom Def. Fund, Inc. v. Biden,

599 F. Supp. 3d 1144, 1156 (M.D. Fla. 2022) (cleaned up) (quoting Am.
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Bioscience, Inc. v. Thompson, 269 F.3d 1077, 1083 (D.C. Cir. 2001)). And the

parties have agreed that this case can likely be resolved by motion. See Doc. 30,

at 2, ¶3. Thus, oral argument would help clarify the issues for this Court before

a likely final resolution. FGA requests that each side be given 20 minutes for

oral argument. FGA conferred with Defendants about this request and

Defendants take no position on it.



Dated: June 19, 2023.                      Respectfully Submitted,

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Accountability                             Accountability




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                        CERTIFICATE OF SERVICE
      I certify that on June 19, 2023, I filed this document on the CM/ECF

filing system, which will notify all registered counsel.

                                            /s/ Michael A. Sasso




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